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     United States Bankruptcy Court for the:
     District of Delaware

     Case number (If known):                               Chapter 11
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       04/19

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




    1.   Debtor’s name                     WMC Mortgage, LLC


    2.   All other names debtor used
         in the last 8 years

         Include any assumed names,
         trade names, and doing business
         as names


    3.   Debtor’s federal Employer
         Identification Number (EIN)        9       5     –   4      6     5       2     0        0   8



    4.   Debtor’s address                  Principal place of business                                    Mailing address, if different from principal place
                                                                                                          of business

                                            6320           Canoga Avenue                          _
                                           Number        Street                                           Number      Street

                                            Suite 1420                                            _
                                                                                                          P.O. Box

                                           Woodland Hills                   CA         91367
                                           City                            State       ZIP Code           City                        State      ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Los Angeles County
                                           County
                                                                                                          Number      Street




                                                                                                          City                        State      ZIP Code




    5.   Debtor’s website (URL)


    6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify:




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  Debtor            WMC Mortgage, LLC                                          _                     Case number (if known)
                   Name


                                          A. Check one:
  7.    Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above Residential Mortgage Origination


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes
                                              5239                   - Other financial activities

  8.    Under which chapter of the        Check one:
        Bankruptcy Code is the
        debtor filing?                     Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                   4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                           Chapter 12

  9.    Were prior bankruptcy cases        No
        filed by or against the debtor
        within the last 8 years?           Yes.    District                                 When                     Case number
                                                                                                     MM / DD / YYYY
         If more than 2 cases, attach a
         separate list.                             District                                 When                     Case number
                                                                                                     MM / DD / YYYY

  10.   Are any bankruptcy cases           No
        pending or being filed by a
        business partner or an             Yes. Debtor                                                               Relationship
        affiliate of the debtor?                    District                                                          When
        List all cases. If more than 1,                                                                                              MM /   DD   / YYYY
        attach a separate list.                     Case number, if known
       Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 2

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  Debtor           WMC Mortgage, LLC                                     _                   Case number (if known)
                Name



  11.   Why is the case filed in this   Check all that apply:
        district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

  12.   Does the debtor own or have      No
        possession of any real           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                    Other



                                                 Where is the property?
                                                                             Number        Street

                                                                                                                                                          _
                                                                                                                       _
                                                                             City                                           State       ZIP Code


                                                 Is the property insured?
                                                  No
                                                  Yes. Insurance agency

                                                          Contact name                                                                                    _

                                                          Phone




              Statistical and administrative information



  13.   Debtor’s estimation of          Check one:
        available funds                  Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
  14.   Estimated number of              50-99                           5,001-10,000                             50,001-100,000
        creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

                                         $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
  15.   Estimated assets                 $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million                More than $50 billion


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                                      ACTION BY
                                   WRITTEN CONSENT
                               OF BOARD OF DIRECTORS OF

                                   WMC MORTGAGE, LLC

               The board of directors (the “Board”) of WMC Mortgage, LLC (the “Company”),
does hereby consent to, adopt, and approve, by written consent in accordance with Section 3.7 of
the Amended and Restated Limited Liability Company Agreement of the Company, dated as of
July 13, 2018 (the “LLC Agreement”), and Section 18-404(d) of the Delaware Limited Liability
Company Act, the following resolutions and the actions contemplated thereby:

               WHEREAS, the Board has reviewed and had the opportunity to ask questions
about all materials that have been circulated to it, including information regarding the liabilities
and liquidity of the Company, any strategic alternatives available to it, and the impact all of the
foregoing on the Company’s ability to satisfy its obligations to creditors; and

               WHEREAS, the Board has had the opportunity to consult with the legal and
financial advisors of the Company to fully consider any strategic alternatives available to the
Company; and

                WHEREAS, the Board believes that taking the actions set forth below are in the
best interests of the Company and, therefore, desires to approve the following resolutions.

    I.   Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Board of the Company has
determined, after due consultation with the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company that a petition be filed by the Company
seeking relief under the provisions of chapter 11 of title 11 of the United States Code; and be it

                FURTHER RESOLVED, that Mark V. Asdourian (the “Authorized Officer”),
hereby is, authorized, empowered, and directed to execute and file in the name and on behalf of
the Company, all petitions, schedules, motions, lists, applications, pleadings, and other
documents in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals, and to take and
perform any and all further acts and deeds which the Authorized Officer deems necessary,
proper, or desirable in connection with the Company’s chapter 11 case (the “Chapter 11 Case”),
including, without limitation, negotiating, executing, delivering, and performing any and all
documents, agreements, certificates, and/or instruments in connection with the transactions and
professional retentions set forth in this resolution, with a view to the successful prosecution of
the Chapter 11 Case; provided, however, that, in accordance with Section 3.1(d) of the LLC
Agreement, to the extent any of the foregoing constitutes a Conflict Issue, the Special
Independent Committee (each as defined in Section 3.1(d) of the LLC Agreement) shall have the
sole power and authority to take, perform, and/or authorize any and all actions in connection
with such Conflict Issue; and be it



 
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    II.   Retention of Advisors

             FURTHER RESOLVED, that Richards, Layton & Finger, P.A., located at One
Rodney Square, 920 N. King Street, Wilmington, DE 19801, is hereby retained as attorneys for
the Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it

               FURTHER RESOLVED, that Jenner & Block LLP, located at 353 N. Clark
Street, Chicago, IL 60654, is hereby retained as special litigation counsel for the Company in its
Chapter 11 Case, subject to Bankruptcy Court approval; and be it

               FURTHER RESOLVED, that Alvarez & Marsal Disputes and Investigations,
LLC, located at 600 Madison Avenue, 8th Floor, New York, NY 10022, is hereby retained as
financial advisor for the Company in its Chapter 11 Case, subject to Bankruptcy Court approval;
and be it

              FURTHER RESOLVED, that Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, 12th Floor, New York, NY 10017, is hereby retained as claims and noticing agent
and administrative advisor for the Company in its Chapter 11 Case, subject to Bankruptcy Court
approval; and be it

III.      General Authorization and Ratification

               FURTHER RESOLVED, that the Authorized Officer is hereby authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform, such agreements,
instruments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other actions that in
the judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
connection with the Chapter 11 Case; provided, however, that, in accordance with Section 3.1(d)
of the LLC Agreement, to the extent any of the foregoing constitutes a Conflict Issue, the Special
Independent Committee shall have the sole power and authority to take, perform, and/or
authorize any and all actions in connection with such Conflict Issue; and be it

              FURTHER RESOLVED, that any and all past actions heretofore taken by the
Board and/or the Authorized Officer in the name and on behalf of the Company in furtherance of
any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed,
authorized and approved in all respects as the acts and deeds of the Company.

              A copy of this consent shall be placed in the official records of the Company to
document the actions set forth herein as actions taken by the Board.

                    [Remainder of page intentionally left blank. Signature page follows.]




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                IN WITNESS WHEREOF, the undersigned, being all the members of the
board of directors of WMC MORTGAGE, LLC, have executed this unanimous written consent
as of the date(s) set forth below.


                                       Name: Mark V. Asdourian
                                       Date: April 23, 2019


                                       Name: John S. Dubel
                                       Date: April 23, 2019


                                       Name: Michael E. Jacoby
                                       Date: April 23, 2019
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                                         ACTION BY
                                     WRITTEN CONSENT
                                    OF SOLE MEMBER OF

                                   WMC MORTGAGE, LLC

                                           April 23, 2019

               GE Capital US Holdings, Inc., the sole member (the “Sole Member”) of WMC
Mortgage, LLC (the “Company”), does hereby consent to, adopt, and approve, by written
consent in accordance with Section 3.10 of the Amended and Restated Limited Liability
Company Agreement of the Company, dated as of July 13, 2018 (the “LLC Agreement”), and
Section 18-302(d) of the Delaware Limited Liability Company Act, the following resolutions
and the actions contemplated thereby:

               WHEREAS, the Sole Member has reviewed and had the opportunity to ask
questions about all materials that have been circulated to it, including regarding the liabilities and
liquidity of the Company, any strategic alternatives available to it and the impact of the
foregoing on the Company’s ability to satisfy its obligations to creditors; and

                WHEREAS, the Sole Member has had the opportunity to fully consider any
strategic alternatives available to the Company; and

                WHEREAS, the Sole Member believes that taking the actions set forth below are
in the best interests of the Company and, therefore, desires to approve the following resolutions.

    I.   Commencement of Chapter 11 Case

                NOW, THEREFORE, BE IT RESOLVED, that the Sole Member of the
Company has determined that it is desirable and in the best interests of the Company that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of
the United States Code; and be it
                FURTHER RESOLVED, that Mark V. Asdourian (the “Authorized Officer”),
hereby is, authorized, empowered, and directed to execute and file in the name and on behalf of
the Company, all petitions, schedules, motions, lists, applications, pleadings, and other
documents in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals, and to take and
perform any and all further acts and deeds which the Authorized Officer deems necessary,
proper, or desirable in connection with the Company’s chapter 11 case (the “Chapter 11 Case”),
including, without limitation, negotiating, executing, delivering, and performing any and all
documents, agreements, certificates, and/or instruments in connection with the transactions and
professional retentions set forth in this resolution, with a view to the successful prosecution of
the Chapter 11 Case; provided, however, that, in accordance with Section 3.1(d) of the LLC
Agreement, to the extent any of the foregoing constitutes a Conflict Issue, the Special
Independent Committee (each as defined in Section 3.1(d) of the LLC Agreement) shall have the


                                                   
 
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sole power and authority to take, perform, and/or authorize any and all actions in connection
with such Conflict Issue; and be it
    II.   Retention of Advisors

             FURTHER RESOLVED, that Richards, Layton & Finger, P.A., located at One
Rodney Square, 920 N. King Street, Wilmington, DE 19801, is hereby retained as attorneys for
the Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it
               FURTHER RESOLVED, that Jenner & Block LLP, located at 353 N. Clark
Street, Chicago, IL 60654, is hereby retained as special litigation counsel for the Company in its
Chapter 11 Case, subject to Bankruptcy Court approval; and be it
               FURTHER RESOLVED, that Alvarez & Marsal Disputes and Investigations,
LLC, located at 600 Madison Avenue, 8th Floor, New York, NY 10022, is hereby retained as
financial advisor for the Company in its Chapter 11 Case, subject to Bankruptcy Court approval;
and be it

              FURTHER RESOLVED, that Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, 12th Floor, New York, NY 10017, is hereby retained as claims and noticing agent
and administrative advisor for the Company in its Chapter 11 Case, subject to Bankruptcy Court
approval; and be it

III.      General Authorization and Ratification

               FURTHER RESOLVED, that the Authorized Officer is hereby authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the Company to
enter into, execute, deliver, certify, file and/or record, and perform, such agreements,
instruments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other actions that in
the judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
connection with the Chapter 11 Case; provided, however, that, in accordance with Section 3.1(d)
of the LLC Agreement, to the extent any of the foregoing constitutes a Conflict Issue, the Special
Independent Committee shall have the sole power and authority to take, perform, and/or
authorize any and all actions in connection with such Conflict Issue; and be it

              FURTHER RESOLVED, that any and all past actions heretofore taken by the
Sole Member and/or the Authorized Officer in the name and on behalf of the Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, authorized and approved in all respects as the acts and deeds of the Company.

              A copy of this consent shall be placed in the official records of the Company to
document the actions set forth herein as actions taken by the Sole Member of the Company.

                   [Remainder of page intentionally left blank. Signature page follows.]




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Fill in this information to identify the case:

Debtor name: WMC Mortgage, LLC
United States Bankruptcy Court for the: District of Delaware
                                                                           (State)
Case number (If known):

                                                                                                                                                         ☐ Check if this is an
                                                                                                                                                         amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.
 

Name of creditor and complete mailing                Name, telephone number,         Nature of the claim    Indicate if      Amount of unsecured claim 
address, including zip code                          and email address of            (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured 
                                                     creditor contact                debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in total 
                                                                                     professional           unliquidated,    claim amount and deduction for value of collateral or 
                                                                                     services, and          or disputed      setoff to calculate unsecured claim. 
                                                                                     government 
                                                                                     contracts) 
                                                                                                                             Total claim, if      Deduction for         Unsecured 
                                                                                                                             partially secured    value of              claim 
                                                                                                                                                  collateral or 
                                                                                                                                                  setoff 
1      TMI Trust Company, as Trustee of SABR         Harvey Wolkoff                  Pending Litigation     Contingent,      N/A                  N/A                   Undetermined 
       2006‐WM2                                      617‐712‐7100                                           Unliquidated, 
       c/o counsel                                   harveywolkoff@quinnemanuel                             Disputed 
       Quinn Emanuel Urquhart & Sullivan, LLP        .com 
       111 Huntington Ave, Suite 520                  
       Boston, MA  02199                              
       Attn: Harvey Wolkoff                           
                                                      
       TMI Trust Company, as Trustee of SABR         M. William Munno 
       2006‐WM2                                      212‐574‐1587 
       c/o counsel                                   munno@sewkis.com 
       Seward & Kissel LLP                            
       One Battery Park Plaza                         
       New York, NY  10004                            
       Attn: M. William Munno                         
                                                      
       TMI Trust Company, as Trustee of SABR         817‐335‐2933 
       2006‐WM2                                      invserv@tmico.com 
       901 Summit Avenue  
       Fort Worth, TX  76102 
        
2      Barclays Bank PLC and certain affiliates      John P. Doherty                 Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       c/o counsel                                   212‐210‐1282                    Notice                 Unliquidated, 
       Alston & Bird LLP                             john.doherty@alston.com                                Disputed 
       90 Park Avenue                                 
       New York, NY  10016                            
       Attn: John P. Doherty                          
                                                     Steven P. Glynn 
       Barclays Bank PLC                             212‐412‐3168 
       200 Park Avenue                                
       New York, NY  10166                           Timothy Magee 
       Attn: Steven P. Glynn and Timothy Magee       212‐526‐7000 
                                                      




Official Form 204                                  List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 1

 
 
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Name of creditor and complete mailing                   Name, telephone number,       Nature of the claim    Indicate if      Amount of unsecured claim 
address, including zip code                             and email address of          (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured 
                                                        creditor contact              debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in total 
                                                                                      professional           unliquidated,    claim amount and deduction for value of collateral or 
                                                                                      services, and          or disputed      setoff to calculate unsecured claim. 
                                                                                      government 
                                                                                      contracts) 
                                                                                                                              Total claim, if      Deduction for         Unsecured 
                                                                                                                              partially secured    value of              claim 
                                                                                                                                                   collateral or 
                                                                                                                                                   setoff 
3      DB Structured Products, Inc. and certain         Joe Salama                    Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       affiliates                                       212‐250‐9536                  Notice                 Unliquidated, 
       60 Wall Street                                   joe.salama@db.com                                    Disputed 
       New York, NY  10005 
       Attn: Joe Salama 
        
4      HSBC Securities (USA) Inc. and certain           Damien Marshall               Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       affiliates                                       212‐909‐7617                  Notice                 Unliquidated, 
       c/o counsel                                      dmarshall@bsfllp.com                                 Disputed 
       Boies Schiller Flexner LLP                        
       55 Hudson Yards                                  Andrew Michaelson 
       20th Floor                                       212‐446‐2382 
       New York, NY  10001                              amichaelson@bsfllp.com 
       Attn: Damien J. Marshall and                      
       Andrew Michaelson                                 
                                                         
       HSBC Securities (USA) Inc                        212‐525‐3831 
       HSBC Tower                                        
       452 5th Avenue 
       New York, NY  10018 
        
5      Merrill Lynch Mortgage Investors, Inc. and       Richard Sauber                Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       certain affiliates                               202‐775‐4506                  Notice                 Unliquidated, 
       c/o counsel                                      rsauber@robbinsrussell.com                           Disputed 
       Robbins, Russell, Englert, Orseck,                
       Untereiner & Sauber LLP                           
       2000 K Street, NW                                 
       4th Floor                                         
       Washington, DC  20006                             
       Attn: Richard Sauber                              
                                                         
       Merrill Lynch Mortgage Investors, Inc.           212‐449‐0357 
       250 Vesey Street 
       Four World Financial Center 10th Floor 
       New York, NY  10218‐1310 
        
6      Morgan Stanley ABS Capital I Inc. and            212‐762‐7291                  Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       certain affiliates                               David.restaino@morganstanle   Notice                 Unliquidated, 
       1221 Avenue of the Americas                      y.com                                                Disputed 
       New York, NY  10020 
       Attn: David Restaino 
        
7      RBS Securities Inc. and certain affiliates       Lisa Brower                   Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       600 Washington Boulevard                         203‐897‐2700                  Notice                 Unliquidated, 
       Stamford, CT  06901                              Lisa.brower@natwestmarkets.                          Disputed 
       Attn: Lisa Brower                                com 
        
8      U.S. Bank National Association, as Trustee       Hillel Parness                Indemnification        Contingent,      N/A                  N/A                   Undetermined 
       c/o counsel                                      212‐447‐5299                  Notice                 Unliquidated,                                                
       Parness Law Firm, PLLC                           hip@hiplaw.com                                       Disputed                                                     
       136 Madison Ave., 6th Floor                                                                                                                                        
       New York, NY  10016                                                                                                                                                
       Attn: Hillel Parness                                                                                                                                               
                                                                                                                                                                          
       U.S. Bank National Association, as Trustee       651‐224‐5117                                                                                                      
       60 Livingston Avenue                                                                                                                                               
       St Paul, MN  55107                                                                                                                                                 
                                                                                                                                                                          
9      Alvaro E. Calderon                               909‐641‐1292                  Pending Litigation     Contingent,      N/A                  N/A                   Undetermined 
       2233 Central Avenue                              aecalderon@gmail.com                                 Unliquidated,                                                
       El Monte, CA  91733                                                                                   Disputed                                                     
                                                                                                                                                                          
                                                                                                                                                                          

Official Form 204                                     List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                       Page 2

 
 
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Name of creditor and complete mailing              Name, telephone number,      Nature of the claim    Indicate if       Amount of unsecured claim 
address, including zip code                        and email address of         (for example, trade    claim is          If the claim is fully unsecured, fill in only unsecured 
                                                   creditor contact             debts, bank loans,     contingent,       claim amount. If claim is partially secured, fill in total 
                                                                                professional           unliquidated,     claim amount and deduction for value of collateral or 
                                                                                services, and          or disputed       setoff to calculate unsecured claim. 
                                                                                government 
                                                                                contracts) 
                                                                                                                         Total claim, if      Deduction for         Unsecured 
                                                                                                                         partially secured    value of              claim 
                                                                                                                                              collateral or 
                                                                                                                                              setoff 
10     Jung Hyun Cho, Kyu Hwang Cho, Eun Sook      707‐320‐2675                 Pending Litigation     Contingent,       N/A                  N/A                   Undetermined 
       Cho, and Eui Hyun Cho                       makisu77@yahoo.com                                  Unliquidated,                                                 
       4384 Burgess Drive                          chmyr@naver.com                                     Disputed  
       Sacramento, CA 95838                         
        
       Jung Hyun Cho 
       119 N. 1st Street 
       Dixon, CA 95620 
        
11     Odilia Lopez                                619‐855‐3468                 Pending Litigation     Contingent,       N/A                  N/A                   Undetermined 
       1011 E. St. Gertrude Place                                                                      Unliquidated,                                                 
       Santa Ana, CA  92707                                                                            Disputed                                                      
                                                                                                                                                                     
                                                                                                                                                                     
12     Ronald and Janet Pirrelli                   James D. Reddy, P.C.         Pending Litigation     Contingent,       N/A                  N/A                   Undetermined 
       c/o counsel                                 631‐225‐2846                                        Unliquidated,                                                 
       James D. Reddy, P.C.                                                                            Disputed  
       810 Anthony Drive  
       Lindenhurst, NY  11757 
        
13     Jose Rodrigues                              Joshua Thomas Esq.           Pending Litigation     Contingent,       N/A                  N/A                   Undetermined 
       c/o counsel                                 215‐806‐1733                                        Unliquidated, 
       Joshua L. Thomas and Associates             JoshuaLThomas@gmail.com                             Disputed  
       225 Wilmington‐West Chester Pike 
       Suite 200 
       Chadds Ford, PA  19317 
       Attn: Joshua Thomas  
        




Official Form 204                                List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                       Page 3

 
 
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Fill in this information to identify the case:

Debtor name:  WMC Mortgage, LLC
United States Bankruptcy Court for the: District of Delaware
                                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
        ☐      Other document that requires a declaration
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 04/23/2019
                                                         /s/ Mark V. Asdourian
                                                         Signature of individual signing on behalf of debtor
                      MM /DD /YYYY
                                                         Mark V. Asdourian
                                                         Printed name

                                                         President and Chief Executive Officer
                                                         Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

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                           Case 19-10879-CSS                   Doc 1   Filed 04/23/19   Page 17 of 22
 



                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :                Chapter 11
                                                             :
WMC MORTGAGE, LLC,                                           :                Case No. 19–________ (    )
                                                             :
                  Debtor.1                                   :
------------------------------------------------------------ x

             CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
             TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

              Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

attached hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in

WMC Mortgage, LLC (“WMC”), as debtor and debtor in possession in the above-captioned

chapter 11 case. WMC respectfully represents as follows:

                     GE Capital US Holdings, Inc. owns one hundred percent (100%) of the membership
                      interests of WMC.

                     GE Capital Global Holdings, LLC owns one hundred percent (100%) of the equity
                      interests of GE Capital US Holdings, Inc.

                     General Electric Company owns one hundred percent (100%) of the membership
                      interests of GE Capital Global Holdings, LLC.




                                                            
1
  The last four digits of the debtor’s federal tax identification number are 2008. The debtor’s principal office is
located at 6320 Canoga Avenue, Suite 1420, Woodland Hills, California 91367.

 
 
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                                             Exhibit A

                                        Organizational Chart




 
 
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                              WMC MORTGAGE, LLC
                             ORGANIZATIONAL CHART


           Debtor                       General Electric
                                          Company

                                                      



                                        GE Capital Global
                                         Holdings, LLC

                                                      



                                          GE Capital US
                                          Holdings, Inc.

                                                      



                                         WMC Mortgage,
                                            LLC

 
 
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                          Case 19-10879-CSS                 Doc 1           Filed 04/23/19          Page 20 of 22
 
 

Fill in this information to identify the case:

Debtor name: WMC Mortgage, LLC
United States Bankruptcy Court for the: District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


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submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

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fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration Corporate Ownership Statement
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 04/23/2019
                                                        /s/ Mark V. Asdourian
                                                       Signature of individual signing on behalf of debtor
                      MM /DD /YYYY
                                                       Mark V. Asdourian
                                                       Printed name

                                                       President and Chief Executive Officer
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
 
RLF1 21145699V.1 
                           Case 19-10879-CSS                        Doc 1         Filed 04/23/19      Page 21 of 22
 
 

                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :                                Chapter 11
                                                             :
WMC MORTGAGE, LLC,                                           :                                Case No. 19–________ (    )
                                                             :
                  Debtor.1                                   :
------------------------------------------------------------ x

                                                               LIST OF EQUITY HOLDERS2

              Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct ownership interest in the above-captioned debtor and debtor

in possession:



      Name and Last Known
                                                                                                       Percentage of Interests
    Address or Place of Business                                   Kind/Class of Interest
                                                                                                               Held
             of Holder

    GE Capital US Holdings, Inc.
         901 Main Avenue                                              Member Interest                          100%
        Norwalk, CT 06851




                                                            
1
  The last four digits of the Debtor’s federal tax identification number are 2008. The Debtor’s principal office is
located at 6320 Canoga Avenue, Suite 1420, Woodland Hills, California 91367.
2
 This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case. 
 
                                                                     List of Equity Holders                                 Page 1

 
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                          Case 19-10879-CSS                 Doc 1           Filed 04/23/19          Page 22 of 22
 
 


Fill in this information to identify the case:

Debtor name:       WMC Mortgage, LLC
United States Bankruptcy Court for the: District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


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document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
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               Declaration and signature



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        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
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        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration List of Equity Holders
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 04/23/2019
                                                        /s/ Mark V. Asdourian
                      MM / DD /YYYY                    Signature of individual signing on behalf of debtor

                                                       Mark V. Asdourian
                                                       Printed name

                                                       President and Chief Executive Officer
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


 
RLF1 21145699V.1 
